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                     FORNI TO BE USED BY A PRISONER FILING A COMPLAINT
                          UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. S 1983

                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND

         IVAN        POTTS,
                                                                                                             st.? 1 \l '2.\)\6
         (SEE        ATTACHED*)




(Full name, prison identification
number and address of the plaintiff)
                                                                       Civil Action No-:\bC           -Uo' '3(61
                                                                       (Leave blank on initial filing to b. r,lkrl ;n hy C ....   !
           v.

          OFC        EVODIO      C.      HENDRIX,


           SGT.       JENKINS

           OFC.       MAURICE           WARD

           (SEE       ATTACHED*)

  (Full name and address of the defendant(s))
                                                           COMPLAINT

  1.            Previous lawsuits
                A.      Have you filed other cases in state or federal court dealing with the same facts as
                         in this case or against the same defendants?

                                      YES    0        NO    00
                B.       If you answered YES, describe that case(s) in the spaces below.

                          1.           Parties to the other case(s):
                                                                  NOT        APPLICABLE
                                       Plaintiff:

                                       Defendant(s): _---------------------




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                      2.           Court (if a federal court name the district; if a state court name the city or
                                                       NA
                                   county):

                                                    NA
                      3.           Case No.:


                                                    NA
                      4.           Date filed:


                                                                                   NA
                      5.          Name of judge that handled the case:                      _


                      6.          Disposition (won, dismissed, still pending, on appeal):                        _

                                           NA


                                                                NA
                      7.          Date of disposition:                                                               _


II.        Administrative proceedings

           A.         If you are a prisoner, did you file a grievance                   as required by the prison's
                      administrative remedy procedures?

                                  YES      D.      NO ~

                      1.          If you answered YES:

                                  a.        What was the result? __ N_A                 ~                         _




                                 . b.       Did you appeal'!

                                                   YES      0            NO []

                     2.           If you answered NO to either of the questions above, explain why: _
                                        NO GRIEVANCE        SYSTEM        EXISTS




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 III.       Statement of claim
            (Briefly state the facts of your case. Include dates, times, and places. Describe what each
            defendant did or how he/she is involved_ If you are making a number of related claims,
            number and explain each claim in a separate paragraph.)



                                  SEE ATTACHED    SHEETS**




IV.        Relief
           (State briefly what you want the Court to do for you:)



                                 SEE ATTACHED    SHEETS*



                                                                          2016
SIGNED THIS                                                             '---.


                                                                JOOlL         (l~1t~~
                                                                                    ~
                                                               (original signature of plaintiff)
                                                                Roxbury       Corr.     Inst.

                                                                18701     Roxbury       Road


                                                                Hagerstown,           MO 21746

                                                               (address of plaintiff)




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                                                                       ---FilED                      ENTERED
                                                                       --_lODGED_5tj-                RECEIVED
                 IN THE UNITED STATES                DISTRICT  COURT
                     FOR THE DISTRICT               OF MARYLAND                    SEP 192016
                                                                                     AT CAL-TIMORE
                                                                              CLERK U.s. DISTRICT CDUilT
IVAN    POTTS,                                                                  DISTRICT OF MARYlAND
                                                                       BY
                                                                                                       DEPUTY

        Petitioner


v •




 oFC. EVoDIo C. HENDRIX,
 SGT. JENKINS,
                                                 DATE       FILED:
'oFC. MAURICE  WARD,

        Defendants

                              •••••••   0   Do ••••••••••


            CIVIL    RIGHTS      COMPLAINT        WITH      A JURY   DEMAND

     NOW   COMES    Peti tioner     Ivan     Potts,   a state       prisoner,
for    compensatory       and     punitive       damages      as     well    as
injunctive      relief      under      42     U.S.C.     ~19B3,       alleging
excessing     use    of    force      in   violation       of    the    Eighth
Amendment    to the United       States     Constitution,      in violation
of the Due Process        Clause     of the Fourteenth         Amendment     to
the   Constitution.       Plaintiff       complaints      that    defendants
violated    his rights     and they are sued in their individual
and official     capacities     under the color of law.

1. Jurisd"iction:

The court has jurisdiction    over the Plaintiff's                            claims  of
violation of federal  constitutional  rights under                            42 U.S.C.
B1331 (a) and 1343;

2. Parties:         Plaintiff*

Plaintiff,     Ivan   Potts,#445-596,       SID#2423224      currently
resides" at the     Roxbury    Correctional      Institution,     1 B701
Roxbury   Road, Hagerstown,    MD 21746-1002;

3. Parties,      Defendants:

(A) Defendant      Evodio     C.   Hendrix,    is   a police     officer
working    in the     Baltimore     Police    Department's     Northwest
District.    His 1.D.#     is 1695,     (work phone#     (410)396-2466.
His   work     address     is    BPD,    Northwest     District,     5271
Reisterstown     Road, BaIt. Md 21215
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(B)    Sgt.   Jenkins       is  a police      Officer       working      in  the
       Police      Department's      Northwest       District.       His    WORK
       phone    is    (410)396-2466,      and    the     address     is:    BPD,
       Northwest     District,     5271 Reisterstown           Road,  BaIt.    Md
       21215;

(C)       Defendant        Maurice     Ward also   works   for                      subagency
       5906,      work    #(410)396-2466.       At  the   time                       of     this
       complaint,       he   worked     for  BPD,  Northwest                        District,
       5271,   Reisterstown        RD., Baltimore,    MD 21215;

 4. All of the     defendants    have                  acted,    and continue           to act,
 under    color of   state    law at                  all   times   relevant           to this
 complaint.

 5.   FACTS RELEVANT TO THE CLAIMS:

 On September      02, 2015,     ofc.   Evodio    C. Hendrix      went to the
 District     Court     of    Maryland     for     Baltimore      City,    5Boo
 Wabash Avenue,       BaIt.    Md 21215,     and filed       a "Statement      of
 Probable      Cause"       against      Petitioner.          The    CC#     was
 #6150900696,        (CAD#1603) .      The     "Statement       of    Probable
 Cause"   contained     the following:
 Property        Recovered/Seized                1)    A SILVER AND BLACK RUGER
 SR40      CalLber         Handgun,         containing           one      live      40 caliber
 round     in the chamber               and 15 live         rounds        in the magazine.
 (Serial        #34222425).             On 9/2/15,           at      approximately               1315
 hours,      your      writer       Det.     Hendrix,       along      with       Sgt.      Jenkins
 and Detective           Ward wera in the area                   of West Forrest               Park.
 Investigators             were       in    this      area      in     reference            to    the
 recent        spike        in     violent        crime,         along        with       numerous
 reports       of potential            upcoming       violence.         During       this      time,
 investigators           were      wearing       our police          tactical        vests       with
 the     word     police        clearly        visible       on both           the     front      and
 rear.      During          this      time,       I was         sitting          in     the      rear
   passenger        seat.      Investigators           were      operating          an unmarked
 police       vehicle.          While       travelling            on     fairview           avenue,
 towards       chelsea        terrace,        we observed            a black        male,      later
 identified          as     Mr.     Ivan     PiJtts,      walking          on the         sidewalk
 from     chelsea        terrance         turning        towards        us onto          the     3900
 block      of    fairview          avenue.       During        this       time,       Potts      was
 wearing        a pair         of    camoflage         cargo        pants       with       a light
 colored        shirt.        While       Potts      was     walking,           investigators
 observed        his     right       hand     against        his      midsection           or belt
 area     as his       left      hand was swinging               freely.        Investigators
 recognized         these         observations           as    being      characteristics
 of an armed person.                Sgt.      Jenkins        continued        driving       our
 vehicle       up towards          the     intersection           at   which    time    Potts
 lifted       his     head      and      appeared        to     notice     our    presence.
 Suddenly,         Potts      pulled      a handgun         out    from his      midsection
 were      (sic)      we observed             his     right       hand     as    previously
 described.          Potts,       with     a firearm         now in his         right     hand
 ran    into      the    first      alleyway        as detective         Ward exited         to
 give     chase      and further          investigate.           While    detective       Ward


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exited     the vehicle,           your investigators                  began yelling            "he
threw     it, he        threw       it!"       (referring           to the firearm               we
observed      in Potts'         right hand, because                   it was not in his
hand.    Based      upon your           investigator         I 5    experience,           it I s a
common       practice          for         individuals             running          from       law
enforcement         to throw         the firearm           to avoid          capture        while
in possession          of a firearm.              Detective         Ward then followed
behind    Potts in the rear of 3900 Fairview                             Avenue as Potts
attempted       to wedge         his body between                 a wooden         and mental
fence    in the rear of 3900 Bonner.                           I exited          our vehicle
and ran into a parallel                   alleyway       in attempts           to help with
the    apprehension           of      Potts.        Your      writer        then       observed
Potts     running        towards         me     in the       rear       of 3900         Bonner.
Potts    then lied          (sic) down            stomach        first      on the ground
and gave up to police.                    Detective        Ward then placed                 Potts
in police        custody.         Investigators            obserrved          a handgun          in
Potts    hand at         or near          the     intersection            of     fairview        on
chelsea     terrace       and not observing               the handgun             in his hand
while     he     fled     from       fairview          on    Chelsea          terrace        lead
investigators            to      know        without         a      doubt        that       Potts
discarded       the weapon           between        that intersection                 and were
(sic)    we turned          the corner             from     .fairview          onto chelsea
terrance      which       was only           several      seconds.          Potts   t     no w in
custody.      Sgt. Jenkins          and I walked back towards                      the
intersection         of fairview             and chelsea          terrace        where Potts
was observed         with the firearm.                 Recovered         immediately           was
a silver       and black         handgun         lying in the grass just past
the   corner       house     located          at fairview           avenue       and chelsea
terrace.       This      was      the       same     path      that      Potts        fled     and
literally         just     around          the     corner        where       investigators
observed       a handgun           in Potts I right                hand.      Sgt Jenkins,
utilizing        gloves,        then        recovered        the      firearm         at which
time it was discovered                   to be a silver              and black Ruger SR
40. This        firearm       was loaded             with     one live           .40 caliber
round     in the        chamber          and     another         15     live      40 caliber
rounds     in the magazine.                   Potts     was      then      transported           to
Central      Booking.          At     approximately              1530,       or     two     hours
later,      investigators              received         a KGA          call       (dispatched
call)    in reference            to Potts requesting                  medical        attention
for a laceration              on his left thigh.                    Investigators             then
met    Mr.     Potts       at      St.       Agnes      Hospital.           Potts        advised
investigators          that he cut his leg while                        fleeing        from us,
referring        to law enforcement.                  Investigators              observed        no
blood     or damage           to Potts           Cargo      Pants.         Potts       received
sti tches      for     this      laceration           and      also      made      complaints
about    hurt ribs,           neck and back.              After        treatment          by St.
Agnes medical           staff,       Potts       was released.             Potts       was then
transported           back        to        Central         Booking           and        charged
accordingly.           The      recovered           firearm          was      submitted          to
evidence        control        by      your       writer        this      same       day.      The
Maryland      State      police        then conducted                a criminal          history
check or inquiry            on Potts. This check revealed                          that Potts
is prohibited          from      owning        and or possessing                firearms        for
two felony convictions.                   All events        took place in the City
of Baltimore,          State of Maryland.
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Those         claimed        facts       were          asserted      by     the      defendants.

Plaintiff's             description            of    the    facts   are     as     follows:

                  6.     PLAINTIFF'S            STATEMENT OF FACTS*

      On September          2,     2015,      Mr.    Potts      was walking        down
Chelsea     Terrace,        in     Baltimore         City,      Maryland.       He was
headed   to the      store,       but before        he could       get   to Fairview
avenue,    an unmarked          car turned       off of Fairview,           (which    is
a one-way     street),         and the       car    instantly       turned     towards
Mr. Pot t san d s top p e d. Th r e e (3) Df f ice r s j u mp e d 0 uta               nd
ordered     Mr.   Potts        to     come    here,      and    Potts     asked    "for
what?"    The officers            all    responded         that    they    wanted     to
check   Mr. Potts       for drugs        and guns.

     Mr. Potts     told    the    officers      he wasn't      going                          to   let
them check    him,    because     Potts    did not do anything                                 wrong.
However,    Potts       pulled        out    his   identification                                  and
attempted  to     hand it      to the officers.

       Sgt Wayne told              Potts      to just         turn    around       and put his
hands     on his        head,       and let         the    officers         check     him.     Ofc.
Hendrix       and Ofc.          Ward attempted              to grab       Mr. Potts'         arms,
but    Potts      pulled        back,     and that          is when the           two officers
slammed         Potts         down       to      the       ground.          The      men     began
wrestling,          while        on     the      ground.          The    three       defendants
began      kicking         Mr.     Potts,        and     based      upon       the    number      of
feet     that      he     felt     hitting          his      body     at     the    same     time,
Potts     knew there            were     several        attackers.          Potts     balled      up
in an effort           to protect          vital      parts       of his       body.    Officers
were     kicking         and     punching          Potts       at   the      same time.         One
officer       pulled       out a baton           and started           hitting       Potts     with
it.   At that        time,       Potts     was yelling            out "my leg!          My leg/"
The police           turned        Potts       over,       and     handcuffed          him.     Two
officers       walked         into     an alley          and began          searching.         They
eventually         returned         and had a gun with                 them ..
      Sgt.     Jenkins     began    smiling    and told    me that    the    gun
was mine.       While    he laughed      and tried  to place     the handgun
in   Mr.     Potts     ha"nd,  £as   if    he was trying"    to put     Potts'
fingerprints         on the     gun.    Potts   was seated     on the     curb,
and restrained          when that    happened.

     Potts   attempted     to stand       up when Jenkins      attempted     to
put   the  pun in Potts'        hand,     and at that    time,     Ofc.    Ward
and Ofc.     Hendrix    slammed       Potts   down and began        hitting,
punching    and kicking      Potts.

      Potts     was transferred        to                  the    bookings    facility,    and
they   "refused"     to accept      Potts                   because     he had a hug~ gash
in his     leg.   In  addition,       Mr.                   Potts     had  bruises      on his
ribs,   head,     and other     areas.

      The      patty       wagon      driver          interviewed         Potts,      asking       him



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what   happened    to him     that   caused  the   injuries.    Potts
explained     to   the   driver    exactly    what   happened.     The
defendants    were called     by the transportation      officer,   to
take   Mr.   Potts    to  the   hospital,    and   the   patty-wagon
driver   and defendants     began to argue back and forth.         The
patty-wagon    driver    transported    Potts to the hospital.

     Mr.  Potts  was  interviewed    by the     nurse,   where   he
advised  her that he was beaten,      assaulted   and kicked,    as
well as beaten   with a baton.    Potts received     medical   care
far    his   injuries,         to    include      stitches,         treatment        for        rib
contusions,  and head contusions.                         He was      then    transferred
back to Central  Bookings.

                          7. GROUNDS

(a)    The    defendants             violated        Potts'         eighth      amendment
rights      when    using             excessive         force         after          he         was
restrainedj

(b) Defendants'            attempted           to hide        their illegal          actions
by forcing   the          paddy-wagon            driver       to take Potts           to the
hospital;

(c) Defendants           are   not    immune      from     suit
(d) Defendants           are   sued     in their        official       and    individual
capacities;
(e) Plaintiff        is entitled   to relief,   stemming                      from        the
violations  of       his constitutional    rights;

(f) Plaintiff's injuries                 were     sustained         without     detailed
damage to his clothing;
(g)    Defendants        denied Plaintiff   the               equal protection              of
the    law, which        is implied  including                due process;
(h) All defendants             have acted, and continue  to act under
the color of State             law at times relevant  to this complaint;

(i) At no time           did   Plaintiff         ever     assault      defendants;
(j) Plaintiff's     rights            were      violated       when    he was     assaulted
while    restrained;

(k) Defendants    did nothing                    to  intervene         when     Plaintiff
was   being   attacked   with                    the    baton,         while      he   was
handcuffed;
(1) Plaintiff    was subjected  to the misuse   of force by
several  Baltimore  City police officers,   some of whom
actively  beat and kicked him and others of whom watched
and failed to intervene;
(m) Supervisors were aware of the violent  propensities
of some of the officers  and are liable for failing   to
take action to control  them.

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(n)Plaintiff         suffered              from     pain,            mental         anguish,
emotional    stress,      and           other   damages           that were        permanant
in nature;
(0)   Defendant    committed                 perjury,   and attempted    to              hide
their      illegal      and                  unconstitutional      actions                     by
falsification     of records                 related  to the event;
(p) Defendants               failed     to    abide    by    their     own    regulations
when exercising               excessive       forcej

(q) Defendants    falsified  records   regarding   how Plaintiff
was injured,   and falsified   records   that would justify   the
use of force;
(r)    The        actions     of          the       defendants         was      malicious,
sadistic,        and intentional;


                                       RELIEF     SOUGHT


WHEREFORE,          Plaintiff            requests           the     court       grant      the
following        relief:

A.   Issue a declaratory      judgement   stating   that defendants
     violated  Plaintiff's    rights under the Eighth Amendment
     to the United    States    Constitution    and constituted    an
     assault  and battery    under state law;

     (2) Defendant's                 failure   to take   action to curb   the
     physical   abuse                of   Plaintiff    violated  the  Eighth
     Amendment  to the               United States Constitution

B. Award       compensatory            damages      in the        following     amounts;

     1.   $1,000.000.00      jointly   against    defendants       for the
           physical    and   emotional    injuries      sustained     as a
           result    of    the    Plaintiff's      beating,       and   for
           injuries   sustained    which are permanant        in nature;

     2.     $500.000.00   in             punitive       damages        jointly       against
           the defendants

C. Grant such other                  relief     as it may         appear    that    Plaintiff
   is entitled.

DATE:     qjl:!.! '20( f.c
           I

                                              Respectfully          Submitted

                                              JMll       fJ,{J~Sf,.
                                              Ivan Potts,#445-596
                                              Roxbury   Correctional            Institution
                                              1 B701 Roxbury   Road'
                                              Hagerstown,    MD 21746
                              (6 )
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                                              CERTIFICATE OF SERVICE


                          .f h        h.
          Ih ere b y certl y t at on t IS
                                                    I"./Yl
                                                      .;:)
                                                              dayof        September                , 20~,   a copy of this
__   C_I_V_I_L __ R_I_G_H_T_S__ C_O_M_P_L_A_I_N_T__ W_/_J_U_R_y__ D_E_M_A_N_D          ,   was mailed, postage prepaid, to

(name and address of the attorney or person to whom you sent it).



                                                                        (your signature)      ~        Q. j)Jj;~.
It is not necessary to statc in the certificatc of service that copies were sent to the Court or to the
Clerk.

Do not file any motions .or memoranda that are longer than fifty pages unlcss you have reccived
permission from the Court. Most motions and memoranda should be much shorter than fifty
pages.

You do not have to file copies of exhibits that are already on filc in the same case. For example,
if the defendants in your case file a motion for summary judgment and attach as an exhibit to
their motion a copy of a sick call slip, you do not have to attach a copy of that document to your
opposition or to any motions you file. You may simply refer to the copy that is already in the
filc.

You must sign every pleading, motion, and memorandum that you file. You MAY NOT sign
someone else's name, nor may you file anything on behalf of someone else. In order for a
pleading, motion, or memorandum to be considered on behalf of more than one plaintiff, each
plaintiff must sign it.




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